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Page 2

PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY

 

 

United States District Court District

 

Dockst-pra56 WL

 

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Petitioner (include the name under which “ were convicted) Respondent (authorized person having custody of petitioner):

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The heetniey General of the State of

 

 

 

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TE al Coot of case’ Chee f (if you Lf Ft x fe ( \V- é O¢ \f bse 3
2. (a) Date of the judgment of conviction (if you know): _ WA. t. JO Rev

3. Length of sentence:

PETITION

   

1. (a),Name and location of court Lt ae the Judgment of oguvlehon you are pallens:

C pu ou ane SOL Te fol:

 

 

 

 

 

(b) Date of sentencing: __“"«

 

4. In this case, were you convicted on more than one count or of more than one crime? Yes O No @

Identify all crimes of which you were convicted and sentenced in this case: _\ Or
N aN It LAL

 

 

 

 

6. (a) What was your plea? (Check one) A | / { |
(1) Not guilty Q | (3) Nolo contendere (no contest) O

(2) Guilty O (4) Insanity plea O
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(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to?

 

 

 

 

 

(c) If you went to trial, what kind of trial did you have? (Check one)
Jury O Judge only O AI /

Did you testify at a pretrial hearing, trial, or a post-trial hearing?
Yes O No

Did you appeal from the judgment of conviction?
Yes M No QO

If you did appeal, arias the following: i

(a) Name of court: 1). ii ITT Poo’

 

(b) Docket or case number (if you know):
(c) Result: + dich M }
(d) Date of result (if you know): DA DCD”

 

(e) Citation to the case (if you know):

Ang ¢ } f (7 | ‘
(f) Grounds raised: __. MOO ENG UD s pei. Vd 1 yo ad
CYT AG MVM iT '

}
ae

(g) Did you seek further review by a higher state court? Yes Qa No Q

If yes, answer the following:

(1) Name of court:

 

(2) Docket or case number (if you know): 4
\ ae j

(3) Result: yb

 

(4) Date of result (if you know): | j-. iif
(5) Citation to the case (if you know): bo Tt

(6) Grounds,raised: "iY LAG woh \ re
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(h) Did you file a petition for certiorari in the United States Supreme Court? Yes Q No U
If yes, answer the following:
(1) Docket or case number (if you know): _!_«

(2) Result: yd

 

(3) Date of result (if you know):

 

(4) Citation to the case (if you know):
10, Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court?
Yes OQ No WU
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: LS
(2) Docket or case number (if you know): t p/ ta

\

(3) Date of filing (if you know): ( d/h

 

(4) Nature of the proceeding: i}
(5) Grounds raised:

 

 

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
Yes OQ No @

(7) Result: f

(8) Date of result (if you know): __!

(b) If you filed any second petition, application, or motion, give the same information:

 

(1) Name of court:_|_

(2) Docket or case number (if you know):

 

(3) Date of filing (if you know):

 

(4) Nature of the proceeding:

 

(5) Grounds raised:

 

 

 

 
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(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
Yes O No
(7) Result: A
(8) Date of result (if you know): {
(c) If you filed any third petition, application, or motion, give the same information:
(1) Name of court: | u
(2) Docket or case number (if you know):,_|

(3) Date of filing (if you know): ___|

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
Yes No Q

(7) Result: ,

(8) Date of result (if you know): __!

 

(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition,

application, or motion?

(1) First petition: Yes &Y No O
(2) Second petition: YesQ No QO
(3) Third petition: YesQ NoQ

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

 

 

 
 

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12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds, State the

facts supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available state-court
remedies on each ground on which you request action by the federal court. Also, if you fail to set forth all the
grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: J } 1) 0) L? \( fp

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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" (b) If you did not exhaust your state remedies on Ground One, explain why:

 

 

 

 

(c) Direct Appeal of Ground One:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes @ No QO

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes @ No O
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: | ah Ls) a |

Name and location of the court where the motion or petition was filed:_| | Wut a
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} : i } . } : i! : 7 | : i ad be \

’ B "Al As %
Docket or case number (if you know): ot C4
la | f Vf

Date of the court’s decision: “\_/) \s b
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Result (attach a copy of the court’s opinion or order, if available):

 

 

(3) Did you receive a hearing on your motion or petition?
Yes OQ No

(4) Did you appeal from the denial of your motion or petition?
Yes OQ NoO

(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes Q No Q

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):
§

va

Date of the court’s decision: -h_ i

Result (attach a copy of the court’s opinion or order, if available): __ ji

 

 

(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

 

 

 

 

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

 

have used to exhaust your state remedies on Ground One:
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GROUND TWO: FILOCI TPO UNDA. Var TNE tor, Gy Y
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(a) ‘Supporting facts (Do not arguejor cite Taw. Just state the specific facts that support your claim,): I )
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(b) If you did not exhaust your state remedies on Ground Two, explain why:

 

 

 

(c) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes W No QO

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes @ No O

(2) If your answer to Question (d)(1) is “Yes,” state: at)

 

 

 

 

 

 

 

 

 

Type of motion or petition: _© bo fa is PTO La) Loss }
Name and location of the court where.the motion or petition was filed: . mi Vvor: j MM i Co
IL, JO} OO, nro avsuile_ lO RCL Dena ap. AAU y1C
Docket or case number (if you know): ie Pi ITN NNN OR i
Date of the court’s decision: ~/\\.)_\ » LO KA 4
Result (attach a copy of the court’s opinion or order, if available): CO Ait Wy
MM USQLd Ji VEL
(3) Did you receive a hearing on your motion or petition?
Yes OQ No
(4) Did you appeal from the denial of your motion or petition?
Yes @ No O
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes Y No OQ
(6) If your answer to Question (d)(4) is “Yes,” state: Pas
Name and location of the court where the appeal was filed: __\ Ne, \ JUA ) OI AL 2 iy t
AO \171InL) Got

 

 

Docket or case number (if you know):

Date of the court’s decision: ___\ 6

 

Result (attach a,copy of the coutt’s opinion or order, if available):

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(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

 

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}

 

 

 

(ec) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
Cs See \ CVG Pp § MO}

have used to exhaust your state remedies on Ground Two:_ (ry s\n) Sv yt
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(c) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes W No O

(2) If you did not raise this issue in your direct appeal, explain why: i b ui

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

Yes W No O
(2) If your answer to Question (d)(1) is “Yes,” state: } i
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Type of motion or petition:__ 1 « ) (\. ip bud

Name and location ofthe court where the motion or petition yes filed: OUTL VO} Yast DAF 1
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GROUND THREE: ety. ty oy iD (ATT OT ) bat
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J d v 5 fi .-als .
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim): « )§ YOu Ai A
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Page 10

Docket or case number (if you know): Cc A ori ( OOK
Date of the court’s decision: Wr) )» \ uf if '
Result (attach a copy of the coprt’s opinion or order, if available): __ i ‘ hAZ al |
(3) Did you receive a hearing on your motion or petition?

Yes O No W
(4) Did you appeal from the denial of your motion or petition?

Yes @ No OQ
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes W No O
(6) If your answer to Question (d)(4) is “Yes,” state: me , 0) . | Va
Name and location of the court, where the.appeal was filed: Ne, x di if ) 4 () HH i \ Ss IY !
Pi MGI w\fvis. MY | VV). (UD. it Sy} Vi Te (yy Vv: 7. ftalal Ad
Docket or case number (if you know): on } : [ ( J iy : { l i G
Date of the court’s decision: lj ol. | \ s c Ord
Result (attach a copy of the Courts opinion or order, if available): pI i {

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(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

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(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
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jc

 

 

 

have used to exhaust your state remedies on Ground Three: "i/o! Wh iV nur
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GROUND FOUR: a’

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): t

 

 

 

 

 
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(b) If you did not exhaust your state remedies on Ground Four, explain why:

 

 

 

 

 

(c) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes OQ NoQ

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes OQ NoQ
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: I

Name and location of the court where the motion or petition was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision: j ) /Le

q

Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion or petition?
Yes Q NoQ

(4) Did you appeal from the denial of your motion or petition?
Yes OQ NoQ

(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes OQ No Q

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 
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(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

 

 

 

 

Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

B
g f

have used to exhaust your state remedies on Ground Four:

 

 

 

 

 

EXHAUSTION - Please answer these additional questions about the petition you are filing:

(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
having jurisdiction? Yes OQ NoQ
If your answer is “No,” state which grounds have not been so presented and give your reason(s) for not

presenting them: jk

 

 

 

(b) Is there any ground in this petition that has not been presented in some state or federal court? If so, which

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ground or grounds have not been presented, and state your reasons for not presenting them: __|| a

 

 

 

 

SUCCESSIVE APPLICATIONS- Have you previously filed any type of petition, application, or motion in a
federal court regarding the conviction that you challenge in this petition? Yes O No

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, the issues
raised, the date of the court’s decision, and the result for each petition, application, or motion filed. Attach a

copy of any court opinion or order, if available.

 

 

 

 

 

 

 
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Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal,
for the judgment you are challenging? Yes QO No
If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

 

 

 

Give the name and address, if you know, of each attorney who represented you in the following stages of the
judgment you are challenging:
(a) At preliminary hearing:

 

 

(b) At arraignment and plea: I

 

(c) Attrial:__!

 

(d) At sentencing:

 

 

(e) On appeal: y 4

 

(£) In any post-conviction proceeding: q |

 

(g) On appeal from any ruling against you in a post-conviction proceeding: I Bh,

 

 

Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes ONo @

(a) If so, give name and location of court that imposed the other sentence you will serve in the future: bus

 

(b) Give the date the other sentence was imposed: I
(c) Give the length of the other sentence:__) 1. |)
(d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in

the future? Yes QNo @
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18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

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* The Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA”) as contained in 28 U.S.C. § 2244(d)
provides in part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of —
(A) the date on which the judgment became final by the conclusion of direct review or the expiration of the
time for seeking such review;
(B) the date on which the impediment to filing an application created by State action in violation of the
Constitution or laws of the United States is removed, if the applicant was prevented from filing by such
state action;
(C) the date on which the constitutional right asserted was initially recognized by the Supreme Court, if the
right has been newly recognized by the Supreme Court and made retroactively applicable to cases on
collateral review; or
(D) the date on which the factual predicate of the claim or claims presented could have been discovered
through the exercise of due diligence.
(2) The time during which a properly filed application for State post-conviction or other collateral review with
respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation under
this subsection.
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Therefore, petitioner asks that the Court grant the following relief: __{_ es 1) et
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or any other relief to which petitioner may be entitled. "yy, I
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Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this

Petition for Writ of Habeas;Corpus was placed in the prison mailing system on

 

(month, date, year).
ff ny /*):
Executed (signed) on LOI C fr (date).
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Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing

this petition. |

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IN THE SUPREME COURT OF THE STATE OF KANSAS

NOAH DEMETRIUS REED,

)
)
Petitioner-Appellant, )
) Appellate Case No.: 92—124,991-A
v. ) County Annealed Frem: Butler
) District Court Case No.. 21-CV—162
JEFF BUTLER, WARDEN, )
)
)

Respondent-Appellee.

RULE 8.08A SUMMARY PETITION FOR REVIEW

1. Prayer for Review. Petitioner-App ellant Noah Demetrius Reed files this
summary petition for review under KAN. S.Cr, R. 8.03A to request that this Court
review and reverse the decision of the Court of Appeals.

2. Date of Decision. December 16, 2022.

3. Issues for Which Review Is Sought: Did the Court of Appeals err in
concluding that Reed had not adequately alleged that the garnishment of the economic
impact payments deposited into his inmate trust account violated the takings clause
of the Fifth Amendment and his right to due process under the Fourteenth Amend-

~~ “ment, as well as the Consolidated Appropriations Act, warranting the granting of

review, reversal of both the Court of Appeals and Butler District Court’s summary
dismissal of Reed’s K.S.A. 60-1501 petition on the ground that he failed to state a
claim upon which relief can be granted, and remand for further consideration, with the
instruction that venue be transferred to Leavenworth District Court?

4. Statement of Facts. Except as otherwise may be stated below, Reed
incorporates the facts from the Court of Appeals’ opinion.

5. Argument. Reed argues that the Court of Appeals erred in concluding
that he had not adequately alleged that the garnishment of the econonuc impact
payments deposited into his inmate trust account violated the takings clause of the
